                                                                               08/26/2024


          IN THE SUPREME COURT OF THE STATE OF MONTANA
                          DA 22-0556
                                                                           Case Number: DA 22-0556




STATE OF MONTANA,

            Plaintiff and Appellee,

     v.


PITASKUMMAPI DAVID GREEN,

            Defendant and Appellant.


                                      ORDER


     Upon consideration of Appellant’s motion for extension of time,

and good cause appearing,

     IT IS HEREBY ORDERED that the motion is GRANTED, and

Appellant has until September 26, 2024, to file the reply brief.

     No further extensions will be granted.




                                                                Electronically signed by:
                                                                      Mike McGrath
                                                         Chief Justice, Montana Supreme Court
                                                                     August 26 2024
